             Case 1:07-cr-00192-AWI Document 136 Filed 03/06/08 Page 1 of 3


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 5
     Attorney for Defendant,
 6   JENNIFER DIANE BROWN

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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                            EASTERN DISTRICT OF CALIFORNIA, FRESNO
10
                                                  *****
11
12   UNITED STATES OF AMERICA,                     ) Case No.: CR-F-07-00192 AWI
                                                   )
13
                   Plaintiff,                      ) STIPULATION TO MODIFY
14          vs.                                    ) CONDITIONS OF RELEASE
                                                   )
15   JENNIFER DIANE BROWN,                         )
16                                                 )
                   Defendant.                      )
17                                                 )
18
19          IT IS HEREBY STIPULATED between the Defendant, JENNIFER DIANE BROWN, by
20
     and through her attorney of record, Anthony P. Capozzi, and Plaintiff, by and through Assistant
21
22   United States Attorney, Kathleen A. Servatius and the United States Pretrial Office, by and through

23   Pretrial Officer, Dan Stark, that the Defendants Conditions of Release be modified to reflect the
24
     following change:
25
     ///
26
27   ///

28
            Case 1:07-cr-00192-AWI Document 136 Filed 03/06/08 Page 2 of 3


 1                The defendant shall participate in a program of medical or psychiatric
 2
           treatment including treatment for drug and/or alcohol dependency, and pay for costs
 3
 4         as approved by the Pretrial Services Officer.

 5                All previously ordered terms and conditions of release shall remain in full
 6
           force and effect.
 7
 8
                                                     Respectfully submitted,
 9
10   Dated: March 5, 2008
11
                                                          /s/ Anthony P. Capozzi
12
                                                     Anthony P. Capozzi,
13                                                   Attorney for Defendant,
                                                     JENNIFER DIANE BROWN
14
15   Dated: March 5, 2008
16
                                                           /s/ Kathleen A. Servatius
17
                                                     Kathleen A. Servatius,
18                                                   Assistant U.S. Attorney

19
20                                               ORDER

21         IT IS SO ORDERED. Good cause having been shown, the Conditions of Release for
22
     Defendant JENNIFER DIANE BROWN shall be modified to include the following:
23
24                The defendant shall participate in a program of medical or psychiatric

25         treatment including treatment for drug and/or alcohol dependency, and pay for costs
26
           as approved by the Pretrial Services Officer.
27
28                                                  2
              Case 1:07-cr-00192-AWI Document 136 Filed 03/06/08 Page 3 of 3


 1                All previously ordered terms and conditions of release shall remain in full
 2
          force and effect.
 3
 4
     IT IS SO ORDERED.
 5
 6   Dated:    March 5, 2008                      /s/ Anthony W. Ishii
     0m8i78                                 UNITED STATES DISTRICT JUDGE
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